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     Federal Defender
 2   LEXI NEGIN, Bar # 250376
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JENNIFER LYNN MACDOUGAL
 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                       )   NO. CR-S-11-339 WBS
                                                     )
11                          Plaintiff,               )
                                                     )   STIPULATION AND [PROPOSED] ORDERTO
12          v.                                       )   CONTINUE STATUS CONFERENCE AND TO
                                                     )   EXCLUDE TIME
13   DUWAYNE LEDOUX,                                 )
     JENNIFER LYNN MACDOUGAL                         )   Date: January 9, 2012
14                                                   )   Time: 9:30 a.m.
                            Defendant.               )   Judge: William B. Shubb
15                                                   )
     _____________________________________
16
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
17
     Jason Hitt, Assistant United States Attorney, John Manning attorney for defendant Duwayne Ledoux, and
18
     Lexi Negin, attorney for defendant Jennifer Lynn MacDougal, that the status conference hearing date of
19
     Monday, January 9, 2012, be vacated and a new status conference hearing date of Monday, March 12,
20
     2012 at 9:30 a.m., be set.
21
            The reason for this continuance is because additional time is needed for defense preparation and
22
     meetings between the parties with the goal being to resolve the case by way of a disposition.
23
            It is further stipulated that the time for trial under the Speedy Trial Act should be excluded from
24
     the date of the signing of this order through and including March 12, 2012, pursuant to 18 U.S.C.
25
     §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code T4, and that the ends of justice to be served
26
     by granting the continuance outweigh the best interest of the public and the defendant to a speedy trial.
27
28
               Case 2:11-cr-00339-TLN Document 39 Filed 01/03/12 Page 2 of 2


 1   Dated: December 30, 2011
                                                           Respectfully submitted,
 2
                                                           DANIEL J. BRODERICK
 3                                                         Federal Defender
 4                                                         /s/ Lexi Negin
                                                           LEXI NEGIN
 5                                                         Assistant Federal Defender
                                                           Attorney for Jennifer MacDougal
 6
 7                                                          /s/ Lexi Negin for John Manning
                                                           JOHN MANNING
 8                                                         Attorney for Duwayne Ledoux
 9
                                                           BENJAMIN B. WAGNER
10                                                         United States Attorney
11                                                          /s/ Lexi Negin for Jason Hitt
                                                           JASON HITT
12                                                         Assistant U.S. Attorney
13                                                    ORDER
14          Based on the reasons set forth in the stipulation of the parties filed on December 30, 2011, and good
15   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
16   ORDERED that the status conference currently scheduled for Monday, January 9, 2012, be vacated and that
17   the case be set for Monday, March 12, 2012 at 9:30 a.m. The Court finds that the ends of justice to be
18   served by granting a continuance outweigh the best interests of the public and the defendant in a speedy trial.
19   Accordingly, IT IS HEREBY ORDERED that the time within which the trial of this matter must be
20   commenced under the Speedy Trial Act is excluded during the time period of today’s date, through and
21   including March 12, 2012, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4, due to the need to
22   provide defense counsel with the reasonable time to prepare taking into account due diligence.
23
     Dated: December 30, 2011
24
25
26
27
28                                                          2
